

Matter of Attorneys in Violation of Judiciary Law § 468-a (Xiaoyuan Li) (2024 NY Slip Op 01603)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Xiaoyuan Li)


2024 NY Slip Op 01603


Decided on March 21, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 21, 2024

PM-49-24
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Xiaoyuan Li, Respondent. (Attorney Registration No. 5079777.)

Calendar Date:February 26, 2024

Before:Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department. 	Xiaoyuan Li, Tokyo, Japan, respondent pro se. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Xiaoyuan Li, Tokyo, Japan, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by May 2019 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 172 AD3d 1706, 1737 [3d Dept 2019]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to January 8, 2024, respondent's supplemental correspondence with attachments dated February 23, 2024 and the February 21, 2024 and February 23, 2024 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has satisfied the requirements of Rules of the Appellate Division, Third Department (22 NYCRR) § 806.16 (c) (5); (2) respondent has complied with the order of suspension and the rules of this Court, (3) respondent has the requisite character and fitness to practice law, and (4) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Egan Jr., J.P., Aarons, Ceresia, McShan and Mackey, JJ., concur.








